                               UNITED STATES DISTRICT COURT

                              NORTHERN DISTRICT OF CALIFORNIA


 ANGEL DE JESUS ZEPEDA RIVAS, et al.,               Case No. 20-cv-02731-VC
                Plaintiffs,
                                                    BAIL ORDER NO. 7
         v.
                                                    Re: Dkt. Nos. 134, 151, 152, 155
 DAVID JENNINGS, et al.,
                Defendants.



The bail requests from the following detainees are denied without prejudice:

   •   Carlos Solis Manzanilla (Dkt. No. 134)

   •   Choung Woohn Ahn (Dkt. No. 134)

The bail request from Leonidez Mendez Hinojosa (Dkt. No. 134) is granted. His bail is subject to

the conditions of release listed in Dkt. No. 108.

       IT IS SO ORDERED.


Dated: May 13, 2020
                                              ______________________________________
                                              VINCE CHHABRIA
                                              United States District Judge
